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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF GEORGIA
                                         AUGUSTA DIVISION

UNITED STATES OF AMERICA                                 *
                                                         *
                             Plaintiffs,                 *
                                                         *
v.                                                       *   1:17-CR-0034 (BKE)
                                                         *
REALITY LEIGH WINNER                                     *
                                                         *
                              Defendant.                 *
                                                         *
* * * * * * * * * * * * * * * * * *                      *

                                POST-HEARING BRIEF IN SUPPORT
                              OF DEFENDANT’S MOTION TO SUPPRESS

           The February 27, 2018 hearing on the Defendant’s Motion to Suppress [Doc. No. 63] (the

“Motion”) confirmed the central issues presented by the Motion: that no reasonable person in

Reality Winner’s position (“Ms. Winner” or the “Defendant”) would conceivably have felt free

to leave her residence on June 3, 2017, when a team of eleven FBI agents arrived to question her

and search her home, that the FBI was never going to actually let Ms. Winner leave, and that the

authorities created an entirely police-dominated atmosphere both before and during Ms.

Winner’s interrogation. Nearly every fact revealed at the evidentiary hearing on February 27,

2018 supports the view that law enforcement had Ms. Winner in custody during her encounter

with the FBI on June 3rd (as they had previously planned) and, because it is uncontested that Ms.

Winner was never read her Miranda rights at any point during her interrogation,1 any statements

elicited by law enforcement from Ms. Winner during the encounter must be suppressed, as

should any evidence obtained as a result of those statements. The Defendant’s Motion to

Suppress should therefore be granted.


1
    See Tr. of Proceedings, Feb. 27, 2018, at 128:1-3.
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I.        INTRODUCTION AND SUMMARY OF THE ARGUMENT

          The thrust of Ms. Winner’s Motion to Suppress boils down to one core issue: whether a

reasonable person would have felt free to leave during Ms. Winner’s encounter with law

enforcement on June 3, 2017. The suppression hearing only confirmed that no reasonable person

in Ms. Winner’s position possibly would have felt free to leave, and it is not even a close call.

Among many other facts elicited at the hearing that make this clear:

         The FBI blocked in Ms. Winner’s car and demanded that Ms. Winner turn over her car
          keys within minutes of initiating the encounter, and never returned those keys over the
          many hours of the search and interrogation;

         After obtaining Ms. Winner’s car keys and initiating the search of her home, the FBI
          informed Ms. Winner that it had a search warrant for her person, but she was not patted
          down until hours later, when an arrest was effectuated by law enforcement. The
          explanation provided by FBI Special Agent Garrick at the hearing -- that the FBI had
          already completed the search warrant for her person by obtaining her cell phone -- did not
          withstand scrutiny on cross-examination, and is irrelevant in any event since that was
          never communicated to Ms. Winner at the time. Every prior case undersigned counsel
          located to have addressed such circumstances unanimously holds that the advisement of a
          search warrant for a suspect’s person would lead any reasonable person to believe they
          could not leave the scene until they were physically searched which, again, did not
          happen until after the FBI ended the interrogation.

         It is uncontested that the FBI never advised Ms. Winner she was “free to leave” nor
          advised her she was “not under arrest” -- the two most powerful factors under Eleventh
          Circuit precedent for determining whether a suspect has been subjected to custodial
          interrogation. Indeed, at the evidentiary hearing, the FBI agent testified that he never
          even considered advising Ms. Winner she was free to leave -- a telling confession that
          manifested itself in all the circumstances present on June 3rd.

         Consistent with never advising Ms. Winner she was free to leave, the FBI agents testified
          at the February 27th hearing that they controlled her movements both prior to, during,
          and after Ms. Winner’s interrogation. For example, after the interview, law enforcement
          advised Ms. Winner to “hang around” and, for good measure, posted an FBI agent to
          shadow her movements -- all for the purpose of “keep[ing] an eye on her” -- both in front
          of the house and when she moved to the back of it. Here again, a reasonable person
          would have thought they were not free to leave when their every move is shadowed by an
          FBI agent and when they are told to “hang around” by law enforcement at the police-
          dominated scene.



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           Law enforcement’s tactics that day to keep Ms. Winner in check are confirmed by the
            words spoken and actions taken by the Defendant herself, who advised the FBI that she
            was confused and repeatedly asked for permission to do anything that afternoon -- an
            indication that she, herself, did not feel free to leave.

           The broader scene at Ms. Winner’s residence on June 3rd yielded the sort of
            “stationhouse” coercive pressures that Miranda warns of: eleven male law enforcements
            agents, nine of them armed; approximately ten law enforcement vehicles, parked around
            her car prohibiting her exit; a surveillance team on standby to monitor the Defendant in
            the event of flight; a security perimeter and caution tape affixed to the premises to
            prevent exit and entry; an interrogation in a tiny room with two large, male, armed law
            enforcement agents questioning the Defendant, who (according to the FBI) was its only
            suspect and a substantial flight risk and danger to the community.

            Moreover, the notion that the FBI would have in fact let Ms. Winner stroll out of the door

had she tried is fanciful, and Special Agent Garrick’s testimony to the contrary strains credulity.

FBI emails from the night before the interrogation show that at least some agents had planned an

arrest, and by Special Agent Garrick’s own account at this hearing and at the prior detention

hearings, he claimed to already have forensic evidence that Ms. Winner allegedly leaked the

document at issue before he ever arrived at Ms. Winner’s home.                What new information

emerged, then, during the interrogation that Special Agent Garrick did not already know, so as to

trigger an arrest that (purportedly) was not planned? Special Agent Garrick never said.

            Given these facts (and the many others previously briefed), under applicable precedent,

Miranda warnings were required, but not given. And, it is unsurprising that law enforcement did

not advise Ms. Winner of her constitutional rights because, as the lead FBI agent testified, he had

never received training for giving Miranda warnings in the absence of a formal arrest and

advised that it was his (erroneous) belief that Miranda is not required unless a formal arrest is

consummated.2 This belief and lack of training is as stunning as it is telling.

            For these reasons, and for the reasons set forth more fully below and in Ms. Winner’s

prior briefing, Ms. Winner’s Motion to Suppress should be granted, and any statements elicited
2
    See id. at 160:14-161:13.

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by law enforcement from Ms. Winner during the encounter on June 3rd should be suppressed, as

should any evidence obtained as a result of those statements.

II.     THE DEFENDANT WAS SUBJECTED TO “CUSTODIAL INTERROGATION”

        A.       Governing Law

        Ms. Winner hereby reincorporates by reference her prior briefing setting forth the

governing law and custodial factors that courts look to in determining whether a particular

suspect has been subjected to custodial interrogation.3 As demonstrated in that prior briefing, the

question of custodial interrogation asks whether, under the “totality of the circumstances,” a

reasonable person would have felt a restraint on her freedom of movement to such an extent that

she would not feel free to leave.4 Courts review a broad range of factors, including, but not

limited to, whether law enforcement “unambiguously advis[ed]” the suspect was free to leave;

whether law enforcement “unambiguously advis[ed]” the suspect was not in custody; the

location of the questioning; whether the officers brandished weapons; whether law enforcement

touched the suspect; whether law enforcement used a tone or language that indicated that

compliance could be compelled; whether the questioning was voluntary; whether the suspect was

separated from others during the questioning; whether law enforcement had a search warrant for

the person of the suspect; the number of law enforcement agents at the scene; the physical

characteristics of the interview location; and the degree to which law enforcement’s questioning

focused on the suspect as a prime suspect.5




3
  Doc. No. 63-1 at pp. 6-9 (Parts III.A, III.B).
4
  See United States v. Brown, 441 F.3d 1330, 1337 (11th Cir. 2006) (quotation omitted).
5
  Doc. No. 63-1 at pp. 8-9 (Part III.B).

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        B.       Application Of Custodial Factors Dictate That The Defendant Was
                 Subjected To Custodial Interrogation.

        The facts adduced at the February 27th hearing confirm that application of the custodial

factors here dictate that Ms. Winner was “in custody” and therefore entitled to Miranda

warnings, which were never given, thus mandating the suppression of her statements.

                 1.      The Two Most “Powerful” Factors Counsel In Favor Of A Finding Of
                         Custody.

        The two most “powerful” factors in the custodial interrogation analysis in the Eleventh

Circuit are whether or not law enforcement advised Ms. Winner whether she was “free to leave”

and whether or not law enforcement advised Ms. Winner that she was “not under arrest.”6 In this

case, law enforcement did neither.              Special Agent Garrick conceded that, during law

enforcement’s three-hour encounter with Ms. Winner, he never advised her she was free to

leave.7 Special Agent Garrick also testified that his partner, FBI Special Agent Wally Porter,

never told Ms. Winner she was free to leave, nor did any of the nine other male law enforcement

agents at the scene.8 Tellingly, Special Agent Garrick admitted that he never even considered

telling Ms. Winner she was free to leave.9

        Likewise, Special Agent Garrick confessed to never telling Ms. Winner that she was “not

under arrest,”10 the other “powerful” factor in the Eleventh Circuit’s analysis.11 Special Agent

Garrick also advised that his partner, Special Agent Porter, never advised Ms. Winner that she

was not in custody, nor did any of the nine other male law enforcement officers on June 3rd.12



6
   United States v. Matcovich, 522 Fed. Appx. 850, 851 (11th Cir. 2013) (citing United States v. Brown, 441 F.3d
1330, 1348 (11th Cir. 2006)).
7
  Tr. of Proceedings, Feb. 27, 2018, at 126:14-16.
8
  Id. at 126:17-19, 127:1-4.
9
  Id. at 161:10-18.
10
   Id. at 127:12-14.
11
   Matcovich, 522 Fed. Appx. at 851 (citing Brown, 441 F.3d at 1348).
12
   Tr. of Proceedings, Feb. 27, 2018, at 127:15-17, 22-25.

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        Contrast this case with United States v. Robinson, No. 4:17-CR-052, 2017 WL 3262417

(S.D. Ga. July 14, 2017), for example, a case cited by the Government in its briefing. 13 In

Robinson, an in-home interrogation was determined to be non-custodial where, among other

things, law enforcement explained that the suspect was “not required to be present during the

execution of th[e] [search] warrant,” that “he was free to leave the premises,” and where one of

the agents “pointed out that [the defendant] had unobstructed access to the open back door of the

apartment and that he could simply walk out if he so desired.”14 In Robinson, these dispositive

facts -- not present here -- yielded a finding of no custody.

        Another stark contrast is presented by United States v. Brown, 441 F.3d 1330 (11th Cir.

2006), another case cited by the Government in its briefing. 15 In Brown, the Eleventh Circuit

upheld the denial of a motion to suppress asserted by a murder defendant, holding that the

suspect was not “in custody” during an in-home interrogation.16 However, in Brown, the suspect

was “told not less than three times by two different officers that he was not under arrest, not in

custody, and was free to go at any time” -- facts that are “of substantial importance in

determining whether a reasonable person would have felt free to leave.”17

        By contrast, none of this was told to Ms. Winner by any of the eleven male law

enforcement agents on June 3, 2017; Brown, Robinson, and the other cases cited by the

Government18 are light years away from this case. In fact, even the prosecution had to concede

at the February 27th hearing that “it would have been helpful” if law enforcement had advised

Ms. Winner that she was “free to go” or “not under arrest,” as that would have addressed the



13
   See Doc. No. 189 at p. 33 (citing United States v. Robinson, 2017 WL 3262417, at *3-4 (S.D. Ga. July 14, 2017)).
14
   United States v. Robinson, No. 4:17-CR-52, 2017 WL 3262417, at *1 (S.D. Ga. July 14, 2017).
15
   Doc. No. 189 at p. 4 (citing United States v. Brown, 441 F.3d 1330, 1348 (11th Cir. 2006)).
16
   See Brown, 441 F.3d at 1344-49.
17
   Id. at 1347 (emphasis added).
18
   See infra, Part II.C.

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“ambiguity” that day.19 The Eleventh Circuit’s “most powerful” factors counsel in favor of a

finding of custody here.20

                 2.       To Keep Her In Check, Law Enforcement Advised The Defendant
                          That She Was Subject To Be Physically Searched, But Never
                          Executed Such A Search Until After Interrogating Her.

        Consistent with failing to advise Ms. Winner that she was free to leave, law enforcement

told her that it had a search warrant for her person, which would convey to any reasonable person

that she was not free to go until that search warrant -- i.e., a physical pat-down -- had been

executed. Law enforcement arrived at Ms. Winner’s residence on June 3rd armed with three

search warrants: one for the house, one of her car, and one for her person. As Special Agent

Garrick testified, the search warrant for Ms. Winner’s person allowed the FBI to search the

entirety of Ms. Winner’s body -- legs, waist, torso, arms, head, hair, pockets, and the like.21 As

courts have held, any reasonable person would understand a search warrant for their person to

mean that they, themselves, would be “a potential subject for search.”22 And that is what Ms.

Winner believed here.23 And yet, though law enforcement told Ms. Winner twenty-eight minutes

into the encounter that it had a search warrant for her person, 24 that physical search of the

Defendant did not happen until hours later -- hours after her interrogation, when law

enforcement finally called a female officer to search Ms. Winner.25

        The Government seeks to elude this fact by concocting an explanation that the search

warrant for Ms. Winner’s person was only so that law enforcement could secure her cell phone.26

Special Agent Garrick’s explanation, however, is nonsensical because law enforcement obtained

19
   See Tr. of Proceedings, Feb. 27, 2018, at 191:1-3.
20
   See Doc. No. 63-1 at p. 10 (citing cases).
21
   See Tr. of Proceedings, Feb. 27, 2018 at 130:15-131:8.
22
   People v. Wilson, 268 Cal. App. 2d 581, 586 (Cal. Ct. App. 1968).
23
   See Doc. No. 64 (Ms. Winner’s Declaration) at ¶¶10, 23, 24.
24
   See Tr. of Proceedings, Feb. 27, 2018, at 132:12-16.
25
   See id. at 108:5-12, 149:21-150:1.
26
   Id. at 131:14-20.

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Ms. Winner’s cell phone within the first two minutes of its encounter with her.27 Thus, after the

first two minutes, there would be no reason -- other than to keep her “in pocket,” as the FBI had

planned28 -- to advise Ms. Winner of that search warrant (since it had purportedly already been

executed). And yet, that is precisely what the FBI did, telling the Defendant twenty-eight

minutes into the encounter (and twenty-six minutes after obtaining her cell phone) that it had a

search warrant for her person.29 When confronted, Special Agent Garrick sought to cast blame

on his colleague, saying that Special Agent Porter (mistakenly) told Ms. Winner about this

search warrant when it had (purportedly) already been executed.30 When asked why he did not

correct the record, however, Special Agent Garrick could provide no answer.31 And in any

event, this explanation is irrelevant to the analysis because, from Ms. Winner’s perspective, all

she knew at the time was that FBI agents told her that they had a warrant to search her

personally, which they had not executed.

         Every case undersigned counsel could locate to address this issue has found it

monumentally important in the custodial interrogation analysis. In United States v. Brunn, No.

06-CR-198, 2008 WL 441486 (D. Haw. Feb. 19, 2008), a federal district court partially

suppressed statements made by a defendant who was being questioned contemporaneously with

the execution of a search warrant for his person.32 In Brunn, one of the defendants, a male, was

questioned by law enforcement contemporaneously with the execution of a physical search of his

person without Miranda warnings.33 In suppressing those statements, the district court held:


27
   See id. at 91:7-19.
28
   Doc. No. 235 at p. 14 (Defendant’s Ex. 1) (June 2, 2017 7:37 p.m. Email from FBI SA James Harrison).
29
   See Tr. of Proceedings, Feb. 27, 2018, at 132:12-16.
30
   See id. at 132:12-133:16.
31
   Id. at 133:7-11.
32
   United States v. Brunn, No. 06-CR-198, 2008 WL 441486 (D. Haw. Feb. 19, 2008).
33
   See id. at *4, *9. Notably, one of the defendants who was subject to being frisked pursuant to the search warrant
for her person was a female and, in that case, the FBI agents testified that the female suspect was not frisked at the
scene “because they did not have any female agents present[.]” Id. at *5.

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         “a reasonable person in [the defendants’] position would have felt that he or she
         could not leave before being searched. The search warrants expressly allowed the
         agents to seize and search [the defendants]. [The defendants] had no choice in the
         matter, and it cannot be said that either voluntarily presented himself or herself to
         law enforcement officials for questioning. Certainly, no objectively reasonable
         person would think that, in light of the search warrants allowing searches of
         their person, the agents would simply allow [the defendants] to leave the
         premises without first being searched.”34

Importantly, the district court did not suppress statements made by the defendants in that case

after the search of their persons was complete, holding that the defendants were only “in

custody” while the search of their persons was being completed.35 Thereafter, according to the

district court in Brunn, the defendants would have known that the custodial search of their person

had ended.36

         The same suppression result was reached in People v. Wilson, 268 Cal. App. 2d 581 (Cal.

Ct. App. 1968) and People v. Farris, 120 Cal. App. 3d 51 (Cal. Ct. App. 1981). In both Wilson

and Farris, California state appellate courts reversed convictions due to Miranda violations.37 In

both cases, a significant fact at play was that law enforcement had search warrants that

authorized the searches of the respective defendants, which the appellate courts rightly

concluded deprived the defendants’ freedom of action in a significant way. 38 In Wilson, the

court explained that the search warrants

         “authorized the search not only of the premises, but specifically authorized the
         search of her person as well. It goes without saying that defendant was not free to
         leave the area while officers were conducting the search of the room. Had that
         searched proved fruitless, defendant herself was a potential subject for search. To

34
   Id. at *9 (emphasis added). The district court did note that its decision was buttressed by law enforcement’s
testimony that they would not have allowed the defendants to leave before they finished the searches of their person.
See id. at *10. However, as the district court in Brunn noted, the subjective view of the agents was not dispositive,
given that the custodial interrogation test was an objective one. See id.
35
   See id.
36
   Id. It is noteworthy that in Brunn, the defendants were told they did not have to stay on the premises and were
told they would not be arrested. See id. at *4, *10.
37
   People v. Farris, 120 Cal. App. 3d 51 (Cal. Ct. App. 1981); People v. Wilson, 268 Cal. App. 2d 581 (Cal. Ct. App.
1968).
38
   Farris, 120 Cal. App. 3d at 56; Wilson, 268 Cal. App. 2d at 586.

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         accomplish such a search, the officers were authorized to detain her and call in a
         female officer… Only one conclusion may be drawn from the evidence: [f]rom
         the time the officers entered, defendant was deprived of her freedom of action in a
         significant way.”39

         Here, Ms. Winner was advised that law enforcement had a search warrant for her person -

- which, as these courts have held, would lead a reasonable person to think they “could not leave

before being searched”40 -- but she was not patted down until hours later. It is of no moment that

the search warrant was purportedly for her cell phone; certainly, that was a fact that was never

relayed to Ms. Winner, nor was it something that a reasonable person would have understood,

especially considering that the FBI advised of this search warrant after it had already obtained

Ms. Winner’s cell phone. As every case located to address the issue has held,41 and as Ms.

Winner herself believed,42 the inescapable conclusion from these facts is that Ms. Winner was

“in custody” and would not have been free to terminate the questioning until that search was

completed. Miranda warnings were thus required and, in the absence of these warnings, Ms.

Winner’s constitutional rights were violated.

                  3.       The Defendant’s Movements Were Controlled And Directed By Law
                           Enforcement Throughout Her Three-Hour Encounter With The FBI.

         Law enforcement further exercised its control and dominance over Ms. Winner by

directly controlling her physical actions on June 3rd.43                   For example, at the outset of the

encounter, before law enforcement undertook a protective sweep of the residence, Ms. Winner

was allowed to go into her house, get her dog, and bring it outside -- but only following the

precise instructions law enforcement gave her.44 Indeed, in taking care of her dog, Ms. Winner



39
   Wilson, 268 Cal. App. 2d at 586.
40
   Brunn, 2008 WL 441486, at *9.
41
   Id. at *9-10; Farris, 120 Cal. App. 3d at 56; Wilson, 268 Cal. App. 2d at 586.
42
   See Doc. No. 64 (Ms. Winner’s Declaration) at ¶¶10, 23, 24.
43
   See Doc. No. 63-1 at pp. 14-15.
44
   See Tr. of Proceedings, Feb. 27, 2018, at 94:17-96:15.

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acknowledged that the FBI agents would not even have to take their “eyes off” her as the agents

expressly advised her that she was “not to touch anything else” and if she did, that would be a

“problem.”45 Later on, at the beginning of the interrogation, Ms. Winner was concerned about

her cat running out of the house because the FBI left open the front door of the residence as they

were rummaging through the house.46 In that context, again recognizing -- as any reasonable

person would – that she could not do anything without law enforcement’s permission (including

getting up and closing her own front door), Ms. Winner asked permission to leash her cat

because she did not want to be “telling someone in the FBI to keep my front door closed.” 47

Further on in the interrogation, Ms. Winner asked permission to use the restroom and,

recognizing law enforcement’s dominance, inquired: “[h]ow is that going to work?”48

        The FBI’s control over the situation did not end with the interrogation, either. After the

interrogation, as Special Agent Garrick testified, he told Ms. Winner to “hang around” 49 and

another FBI agent, Special Agent James Harrison, physically stood watch in the front of the

house (where Ms. Winner went after the interrogation) to “keep an eye on her[.]”50 Special

Agent Garrick and his partner, Special Agent Porter, likewise moved to the front of the house (to

their vehicles) to place calls, all with Ms. Winner mere feet away.51 This monitoring and

guarding continued throughout the remainder of the afternoon and early evening, first with

Special Agent Harrison watching her in the front yard and then moving to the back yard with

her52 -- all so (according to the FBI) he could “follow her around” and “make sure nothing was


45
   See id.
46
   See id. at 117:8-14, 118:2-5.
47
   Doc. No. 234 at p. 30 (USAO-08134) (Government’s Ex. 2, Interrogation Transcript); see Tr. of Proceedings, Feb.
27, 2018, at 47:21-48:2.
48
   Doc. No. 234 at p. 78 (USAO-08182) (Govt. Ex. 2, Interrogation Transcript).
49
   Tr. of Proceedings, Feb. 27, 2018, at 78:22-79:1.
50
   Id. at 179:1-7.
51
   Id. at 111:5-112:2.
52
   See id. at 170:2-173:8.

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going on.”53 In sum, at no point in time -- other than a brief moment in the bathroom after the

FBI gave its permission54 -- was Ms. Winner left alone or was she allowed to move about

freely.55 And, of course, law enforcement never sought to dissuade Ms. Winner from the notion

that she needed the FBI’s permission to move freely.56

        Law enforcement’s actions, in controlling Ms. Winner’s movements on June 3rd, are in

line with courts that have granted motions to suppress.57 For example, as previously briefed,

where suspects (like Ms. Winner here) are placed “under guard during questioning” or “told to

remain in the sight of interrogating officials,” such actions constitute restraint, even without a

formal arrest.58 The rationale for such holdings is as simple as it is persuasive: “the likely effect

on a suspect of being placed under guard during questioning, or told to remain in sight of

interrogating officials, is to associate these restraints with a formal arrest,” necessitating Miranda

warnings.59

                 4.       The Defendant Was Interrogated In A Police-Dominated Atmosphere
                          Involving Circumstances Requiring Miranda Warnings.

        The broader scene on June 3rd confirms that the inherently coercive pressures Miranda

warns of were present that day. Indeed, as courts have held, where there is an overwhelming

presence of law enforcement, even a residential search can very quickly turn into a police-




53
   Id.
54
   See id. at 72:8-73:8.
55
   Tr. of Proceedings, Feb. 27, 2018, at 119:1 (Special Agent Garrick acknowledging that he never told Ms. Winner
she could move about freely), 157:12-20 (FBI does not typically allow people to move about freely).
56
   See id. at 118:9-119:1.
57
    Doc. No. 63-1 (citing United States v. Craighead, 539 F.3d 1073, 1085-86 (9th Cir. 2008); United States v.
Griffin, 922 F.2d 1343, 1350-51 (8th Cir. 1990); United States v. Goodman, 945 F. Supp. 359, 365-66 (D. Mass.
1996); State v. Mangual, 311 Conn. 182, 201-02 (Conn. 2014); United States v. Mahmood, 415 F. Supp. 2d 13, 18
(D. Mass. 2006)).
58
   See id.
59
   Griffith, 922 F.2d at 1350-51 (citing United States v. Carter, 884 F.2d 368, 372 (8th Cir. 1989) (custody where
suspect told “just stay here”); South Dakota v. Long, 465 F.2d 65, 68 (8th Cir. 1972) (custody where suspect
continually chaperoned)).

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dominated atmosphere -- rendering what might be considered a non-custodial setting into a

custodial one.60 And that is precisely what happened here.

        To begin with, as was demonstrated at the February 27th suppression hearing, the

encounter was initiated by law enforcement61 at Ms. Winner’s tiny house,62 which was crawling

with approximately eleven law enforcement agents, all of whom were male, and nearly all of

whom were armed.63 After turning over her cell phone and keys within the first two minutes of

her encounter,64 leaving her little option for seeking or getting outside contact, Ms. Winner was

isolated65 and questioned in an even smaller room66 by two FBI agents who were substantially

bigger than her and would -- even construing the scene most favorably to the Government --

have presented a substantial, physical roadblock to any flight Ms. Winner might have

contemplated.67 Importantly, the agents knew Ms. Winner did not want be interrogated in that

room, but that is where they went, anyway.68

        Other facts further serve to confirm the police-dominated atmosphere that day. Law

enforcement parked their vehicles -- by one FBI agent’s estimation, a total of ten vehicles69 --

mere feet from Ms. Winner’s car on the access road adjacent to her house, leaving her no place



60
   Doc. No. 63-1 at pp. 11-13; Doc. No. 215 at pp. 10-12.
61
   Tr. of Proceedings, Feb. 27, 2018, at 93:15-17.
62
   See id. at 97:20-25 (house, which consisted of seven rooms and two closets, was approximately 836 square feet).
63
   See id. at 104:10-108:4.
64
   See id. at 91:7-19 (testifying that cellphone and keys were handed over within first 120 seconds of encounter).
65
   As demonstrated at the February 27, 2018 hearing, the choice to isolate Ms. Winner was law enforcement’s, not
the Defendant’s. See id. at 119:13-21.
66
   See id. at 122:15-123:20 (interrogation room of 70 square feet, including a closet).
67
   See Doc. No. 235 at p. 62 (Defendant’s Ex. 11) (drawing of interrogation room reflecting presence of FBI agents
in front of Ms. Winner).
68
   See Doc. No. 234 at p. 18 (Government’s Ex. 2, Interrogation Transcript) (USAO-08122). The Government
makes much of the fact that Ms. Winner purportedly agreed to be interrogated in that room, but at best, such an
assertion is misleading and is of no moment. As the transcript demonstrates, Ms. Winner expressly advised law
enforcement that she did not want to be interviewed in that room; the FBI agents acknowledged this fact; but
nonetheless suggested that the parties go back into that room. See id. Indeed, the fact that Ms. Winner acquiesced
to the FBI’s request actually demonstrates the coercive pressures encountering her that day and her total and
complete capitulation to law enforcement’s tactics -- again, the very reason that Miranda warnings are required.
69
   Tr. of Proceedings, Feb. 27, 2018, at 177:17-18.

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to go (even if she did have her keys, which she did not).70 Likewise, law enforcement cars were

parked around her house, including on Battle Row drive, further preventing any fleeing from the

scene.71 A surveillance team was standing by to monitor Ms. Winner’s movements in the event

she attempted to run,72 and a security perimeter was set up to block exit and entrance to the

premises.73 Caution tape was also placed around her house, another effort by law enforcement to

prevent ingress or egress by anyone on the scene, including Ms. Winner.74                                 Despite the

Government’s self-serving references to the word “voluntary,” implying that the encounter was

somehow the product of deliberate, free, and independent choice, 75 the circumstances that day

presented the opposite scene: an obligatory encounter with the FBI by a scared twenty-five-year-

old woman who reasonably felt, under all the circumstances, that she had no choice but to

comply with law enforcement’s directives.76

                  5.       The Subjective Beliefs Of Law Enforcement Confirm The Custodial
                           Nature Of The Defendant’s Interrogation.

         To the extent it is relevant,77 all the actions taken by the FBI on June 3rd in relation to

Ms. Winner confirm law enforcement’s subjective beliefs that Ms. Winner would not be allowed


70
   See id. at 98:24-99:5 (Defendant’s car surrounded by law enforcement vehicles), 177:25-178:3 (would not have
been possible for Defendant to leave without law enforcement moving its vehicles); see also Doc. No. 235 at pp. 20-
29 (Defendant’s Exs. 3-7) (pictures reflecting law enforcement vehicles blocking in premises).
71
   See Tr. of Proceedings, Feb. 27, 2018, at 103:16-104:1 (law enforcement vehicle parked on Battle Row Rd.).
72
   See id. at 90:14-16, 147:16-20 (surveillance team in place to “monitor [Ms. Winner’s] activities.”).
73
   Id. at 90:17-25.
74
   See id. at 91:1-2.
75
    There are two problems with the Government’s argument that the interrogation was “voluntary” because the
agents declared so. First, the agents’ testimony did not indicate that Ms. Winner voluntarily agreed to the
interrogation; rather, as was made clear at the February 27th hearing, the agents told Ms. Winner that they were
there voluntarily, which is materially different than a suspect voluntarily agreeing to be interrogated by law
enforcement. See id. at 128:4-18 (acknowledging that FBI declared to her that she was there voluntarily and that
Defendant never used that word). Moreover, and in all events, such self-serving statements are insufficient to
change the analysis in light of all the facts presented because “an agent’s statement that a suspect is free to leave [or
to terminate the interview] may have […] less resonance with the suspect [if] [s]he cannot leave the interrogation
site and retreat to the safety of [her] home [because her] home is in fact the locus of police activity.” Craighead,
539 F.2d at 1088 (alterations not in original).
76
   Doc. No. 63-1 at pp. 11-13 (citing cases); Doc. No. 215 at pp. 10-12 (citing cases).
77
   As the Court is aware, the custodial interrogation test is an objective one; the actual, subjective beliefs of Ms.
Winner and law enforcement are irrelevant. See, e.g., United States v. Street, 472 F.3d 1298, 1309 (11th Cir. 2006).

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to leave the premises on that day. To begin with, in the lead up to the execution of the warrants,

the FBI’s own internal emails confirm (at least some of) its agents’ plan and desire to arrest Ms.

Winner:

        At 7:21 p.m. on the evening of June 2, 2017, the day before the execution of the warrants,
         FBI Special Agent Charles McKee, an Augusta FBI agent,78 advised of a 10:00 a.m.
         “rally time” at the Augusta FBI office with a plan that “[a]gents will affect the arrest [of
         Ms. Winner] and then our search team will begin.”79

        At or around the same time, FBI Special Agent Michael Homburg, a Supervisory Special
         Agent from the Washington Headquarters of the FBI,80 advised that budgetary issues
         with “the deployment of surveillance assets for this matter” would be covered and,
         significantly, that federal prosecutors “have indicated a [probable cause] arrest would be
         potentially authorized if the subject decides to flee…”81

        Just minutes later, FBI Special Agent James Harrison, the Supervisory Senior Resident
         Agent at the Augusta FBI,82 emailed FBI team members, including lead agent Garrick,
         that law enforcement will be “set up on [the] subject house before 0700” and that “[o]nce
         we have [the] subj[ect] in pocket […] we’ll execute [the] [search warrant].”83

The search and interrogation of Ms. Winner was a law enforcement-coordinated and controlled

event designed to achieve the pressures that actually took place, as evidenced by emails from

government lawyers literally the minute that the FBI confronted Ms. Winner.84

         Consistent with law enforcement’s plan to “affect the arrest” of the Defendant,85 Ms.

Winner was the prime suspect in connection with the investigation; there was no other suspect,



At the February 27th hearing, however, the Government sought to inject these subjective beliefs on direct
examination, which the Court permitted. See Tr. of Proceedings, Feb. 27, 2018, at 26:17-27:1. Accordingly, Ms.
Winner sets forth the evidence reflecting that law enforcement’s subjective beliefs undermine the Government’s
claim that the Defendant was not in custody.
78
   Id. at 85:23-24.
79
   Doc. No. 235 at p. 8 (Defendant’s Ex. 1) (June 2, 2017 7:21 p.m. Email from FBI SA Charles McKee) (emphasis
added and alterations not in original).
80
   Tr. of Proceedings, Feb. 27, 2018, at 88:9-15.
81
    Doc. No. 235 at p. 19 (Defendant’s Ex. 2) (June 2, 2017 7:16 p.m. Email from FBI SA Michael Homburg)
(emphasis added and alternations not in original).
82
   See Tr. of Proceedings, Feb. 27, 2018, at 163:23-164:4.
83
   Doc. No. 235 at p. 14 (Defendant’s Ex. 1) (June 2, 2017 7:37 pm. Email from FBI SSA James T. Harrison)
(alterations not in original).
84
   See id. at pp. 15-17 (Defendant’s Ex. 1) (emails between FBI agents and government lawyers).
85
   Id. at p. 8 (Defendant’s Ex. 1) (June 2, 2017 7:21 p.m. Email from FBI SA Charles McKee).

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as Special Agent Garrick testified.86 Even prior to showing up on June 3rd, it was the FBI’s

belief that Ms. Winner had committed this crime.87 As Special Agent Garrick made clear during

his interrogation of Ms. Winner, and in his testimony during the detention hearings in this case,

the FBI believed that it already had forensic evidence purportedly implicating Ms. Winner even

before the interrogation occurred.88 Special Agent Garrick pointed to no material evidence that

he did not already know that emerged during the interrogation, which would cause him to

suddenly arrest Ms. Winner even though it was (purportedly) not already planned. There was

none. Indeed, as Special Agent Garrick conceded, nearly the exact same probable cause used to

justify the search warrant was used to justify the arrest warrant just days later. 89 This point

completely belies the Government’s view that the scene on June 3rd was non-custodial. Before

being confronted with the nearly identical affidavits, Special Agent Garrick testified that he did

not think he had probable cause for an arrest prior to June 3rd, then later testified that he “wasn’t

sure” whether he had probable cause for an arrest on June 3rd prior to the interrogation.90 When

confronted with these similarities, however, he retreated and claimed that he deferred to the

prosecutors on whether he had adequate probable cause and that he, personally, as a sworn law

enforcement officer and the affiant on these search warrants, had no personal opinion as to the

level of probable cause the FBI had during this time period.91 Once again, law enforcement’s

plan becomes clear: the FBI did not want to have to Mirandize Ms. Winner (as it knows that

chills suspects from speaking with it) so, instead, the FBI intentionally did not seek arrest




86
   Tr. of Proceedings, Feb. 27, 2018, at 135:18-25.
87
   See id. at 136:4-10.
88
   See id. at 133:21-135:25 (noting evidence obtained by FBI prior to interrogation).
89
   See id. at 140:25-143:5 (comparing search warrant affidavit and arrest warrant affidavit and noting the presence of
ten identical paragraphs).
90
   See id. at 136:25-137:22.
91
   See id. at 143:6-21.

                                                         16
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authority on June 3rd, despite having nearly identical probable cause. Such tactics should not be

sanctioned by this Court.

        Separate and apart from whether Ms. Winner was law enforcement’s prime suspect,

Special Agent Garrick made plain his view that, even before executing the search warrant, Ms.

Winner was a significant danger to the community and a substantial risk of flight, further

undermining the Government’s position that Ms. Winner was not in custody.92 For example,

even before initiating the encounter with Ms. Winner, the FBI knew about an innocuous trip that

Ms. Winner took to Belize weeks earlier; indeed, that trip was included in the search warrant

affidavit.93 As Special Agent Garrick testified, that trip, among other information, which was

known to law enforcement before interrogating Ms. Winner, presented her as a significant risk of

flight in law enforcement’s view.94 It is simply inconceivable, then, that the FBI, who had its

prime suspect cornered, who had planned to arrest Ms. Winner even prior to June 3rd, and who

believed that she was a flight risk and a danger to society even before speaking with her, would

allow her to walk away at any point during her encounter -- despite its hollow protestations to the

contrary. And, lest there be any doubt, the Washington Headquarters of the FBI -- the entity

“calling the shots” in the operation95 -- advised that prosecutors had authorized an arrest if Ms.

Winner attempted to flee.96 Law enforcement not only failed to unambiguously advise Ms.

Winner she was free to leave, but, as the facts make clear, that incredible assertion also was not a

belief actually held by the agents at her house that day.




92
   See id. at 144:3-146:17.
93
   See Doc. No. 235 at p. 44 (¶ 20) (Defendant’s Ex. 9).
94
   See Tr. of Proceedings, Feb. 27, 2018, at 146:8-17.
95
   Doc. No. 235 at p. 2 (June 2, 2017 11:50 a.m. Email from SA Charles McKee).
96
   Id. at p. 19 (Defendant’s Ex. 2) (June 2, 2017 7:16 p.m. Email from FBI SA Michael Homburg).

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          C.     Precedent Dictates That The Defendant Was “In Custody” And Therefore
                 Entitled To Miranda Warnings.

          As the parties indicated at the February 27th hearing, there is no case that is directly on

point to the facts here.         However, many of the Government’s previously-cited cases are

materially distinguishable because, as noted above, law enforcement unambiguously advised the

suspects in those cases that they were free to leave and/or were not in custody. For example:

         In United States v. Asher, 2010 WL 4237579 (N.D. Ga. Feb. 25, 2010), cited by the
          Government on page 35 of its Opposition to the Motion [Doc. No. 189], the suspect was
          told three times he was not under arrest.97

         In United States v. Brown, 441 F.3d 1330 (11th Cir. 2006), cited by the Government on
          page 4 of its Opposition to the Motion, the suspect was told he was free to leave three
          times and told he was not under arrest three times.98

         In United States v. Robinson, 2017 WL 3262417 (S.D. Ga. July 14, 1017), cited by the
          Government on page 33 of its Opposition to the Motion, the suspect was told he was free
          to leave, was not in custody, and law enforcement pointed to the door and advised that he
          could walk out.99

         In United States v. Muegge, 225 F.3d 1267 (11th Cir. 2000), cited by the Government on
          page 31 of its Opposition to the Motion, the suspect was told he was free to leave and
          was not arrested afterwards.100 In that case, the suspect came and went as he pleased.101

         In United States v. Miller, 2:15-CR-14, 2015 WL 8578649 (S.D. Ga. Dec. 9, 2015), cited
          by the Government on page 34 of its Opposition to the Motion, the suspect was told he
          was not under arrest by law enforcement.102

         In United States v. Leese, 176 F.3d 740 (3d Cir. 1999), cited by the Government on page
          33 of its Opposition to the Motion, the suspect was told she was not under arrest and
          would not be arrested at the conclusion of the interview.103

         In United States v. Matcovich, 522 Fed. Appx. 850 (11th Cir. 2013), cited by the
          Government on page 21 of its Opposition to the Motion, the suspect was told he was free
          to leave and could answer questions as he wished.104

97
   See 2010 WL 4237579, at *6.
98
   See 441 F.3d at 1347.
99
   See 2017 WL 3262417, at *1-3.
100
    See 225 F.3d at 1269-71.
101
    See id. at 1271.
102
    See 2015 WL 8578649, at *1-2 (upholding factual finding that agent told suspect he was not under arrest).
103
    See 176 F.3d at 744.

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By contrast, in the numerous cases cited in Ms. Winner’s opening brief where suppression was

granted, law enforcement failed to advise the suspect that she was free to leave or that she was

not under arrest -- exactly the scenario presented here.105

        On top of these two “powerful” factors is the unique facet presented here -- that law

enforcement advised Ms. Winner it had a search warrant for her person but did not execute a

physical search until hours later. As noted above, every case undersigned counsel could locate to

address this issue has unanimously found this fact warranted suppression because the advisement

and existence of a search warrant for one’s person would lead any reasonable person to feel

restrained in their freedom of movement, at least until that physical search was completed --

which did not happen here until hours after the interrogation.106

        While no one case is dispositive or identical, and given that many of the Government’s

cases are materially distinguishable, Ms. Winner has relied on, among others, United States v.

Craighead, 539 F.3d 1073 (9th Cir. 2008). As noted in the Motion, Craighead had many of the

same factors present here, including (a) an in-home interrogation, with (b) eight law enforcement

officers from multiple agencies present to execute a search warrant, (c) a brief interrogation in a

tiny, unfurnished back room, conducted by two law enforcement officers, and with (d) a

defendant who was not handcuffed.107 Craighead also had certain facts that actually favored a

finding of no custody that are not present here. For example, in Craighead, the suspect was

advised he was free to leave and that he would not be arrested -- which did not happen here.108

Craighead also did not involve the inherently coercive pressures that accompanied law

104
    See 522 Fed. Appx. at 852.
105
    See Doc. No. 63-1 at pp. 10 (citing cases).
106
    See id. (citing Brunn, 2008 WL 441486 (D. Haw. Feb. 19, 2008); Farris, 120 Cal. App. 3d 51 (Cal. Ct. App.
1981); Wilson, 268 Cal. App. 2d 581 (Cal. Ct. App. 1968)).
107
    See Doc. No. 63-1 at pp. 16-17.
108
    See Craighead, 539 F.3d at 1078-79; supra, Part II.B.1.

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enforcement’s advisement of a search warrant for Ms. Winner’s person, which also cuts against

the Government in this case.109 Though no one case is directly on point, the vast majority of the

custodial interrogation factors (including the most “powerful” factors), and the weight of the case

law, favors a finding of custody, requiring the suppression of Ms. Winner’s statements to law

enforcement.

III.        CONCLUSION

            For the reasons stated in the Defendant’s original Motion to Suppress [Doc. No. 63], as

well as those stated in her Reply Brief in Support of the Motion to Suppress [Doc. No. 215], and

in light of the evidence received by the Court at the February 27, 2018 suppression hearing, Ms.

Winner respectfully requests that the Court: (a) grant her Motion to Suppress; (b) suppress any

statements elicited from the Defendant during the encounter with law enforcement at her home

on June 3, 2017; (c) suppress any evidence obtained as a result of those statements; and (d)

award all such other relief as may be warranted.

Respectfully submitted,

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109
      See supra, Part II.B.2.

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                                   CERTIFICATE OF SERVICE

        I hereby certify that on April 13, 2018, I electronically filed the foregoing with the Clerk

of the Court using the ECF system, which sent notification of such filing to counsel of record for

all parties.


                                                      /s/ Joe D. Whitley
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